  8:05-cr-00075-LSC-FG3             Doc # 38   Filed: 04/25/05      Page 1 of 1 - Page ID # 55




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )                     8:05CR75
       vs.                                        )
                                                  )                  TRIAL ORDER
SCOTT A. FORREST,                                 )
RASHELL L. ROTH and                               )
MICHAEL L. ANDREWS,                               )
                                                  )
                       Defendant.                 )

        Now pending before the court is the motion of Rashell L. Roth to continue the trial now set
for April 25, 2005. For good cause shown, and upon the representation that the defendant waives
speedy trial and will file a waiver of speedy trial,

       IT IS ORDERED that defendant Roth’s Motion (#36) is granted, as follows:

        1. The above-entitled case is scheduled for a jury trial before the Honorable Laurie Smith
Camp, District Court Judge, to begin Tuesday, June 21, 2005 at 9:00 a.m. in Courtroom No. 2,
Third Floor, Roman L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha, Nebraska;
because this is a criminal case, the defendants must be present in person. Counsel will receive
more specific information regarding the order of trial from Judge Smith Camp’s courtroom deputy,
Edward Champion.

        2. Any motions for a continuance of this trial date shall be electronically filed on or before
June 13, 2005 and shall (a) set forth the reasons why the moving party believes that the additional
time should be allowed and (b) justify the additional time, citing specific references to the
appropriate section(s) of the Speedy Trial Act, 18 U.S.C. § 3161 et seq. Any defense motion
for continuance shall be accompanied by a written affidavit signed by the defendant in accordance
with NECrimR 12.3.

       3. Defendant Roth shall file a speedy trial waiver as soon as is practicable.

       4. The ends of justice will be served by granting such motion and outweigh the interests
of the public and the defendant in a speedy trial. Any additional time arising as a result of the
granting of this motion, that is, the time between April 25, 2005 and June 21, 2005, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial Act.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B)(iv).

       DATED April 25, 2005.

                                               BY THE COURT:

                                               s/ F.A. Gossett
                                               United States Magistrate Judge
